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          IN THE UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF ALABAMA

OLGA        VAZQUEZ,  an )
individual,               )
                          )
    Plaintiff,            )
                          )
v.                        )                CV:_______________________
                          )
IB & G OF MONTGOMERY, )
INC, d/b/a IXAPA BAR & )                  JURY TRIAL DEMANDED
GRILL,         a domestic )
Corporation,              )
                          )
    Defendants.           )


                             COMPLAINT


     COMES NOW the Plaintiff, Olga Vazquez, and files this

complaint against the Defendant and further states as follows:

             PARTIES, JURISDICTION AND VENUE

1.   Plaintiff, Olga Vazquez (“Plaintiff” or “Vazquez”), is a Hispanic

     female over the age of nineteen (19) years and is a resident of this

     Judicial District.

2.   At all times. Ms. Vazquez was considered a covered, non-exempt

     employee under the Americans with Disabilities Act.

3.   Defendant, IB & G of Montgomery, Inc., d/b/a Ixapa Bar &

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      Grill (“Ixapa”) (“Defendant”) is a domestic corporation and is subject

      to suit under 42 U.S.C. § 12101.

4.    Defendant is engaged in interstate commerce, with an annual

      revenue exceeding $500,000.

5.    Defendant employs at least fifteen (15) persons who have worked

      for at least 20 calendar weeks in 2023 and preceding years.

6.    Defendant is a covered entity and employer within the meaning of

      the Americans with Disabilities Act.

7.    This Court has jurisdiction pursuant to 28 U.S.C. section 1331 and 42

      U.S.C. section 12101.

8.    Further, this Court has jurisdiction over this matter since Plaintiff

      has exhausted her administrative remedies before the Equal

      Employment Opportunity Commission. [Exhibit “A”, Notice of

      Right to Sue].

9.    Venue is appropriate in this Judicial District because the

      underlying facts and circumstances giving rise to this complaint

      occurred in the Middle District of Alabama.

                                 FACTS

10.   Defendant Ixapa is a Mexican restaurant located at 7157 Eastchase


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      Parkway, Montgomery, Alabama 36117.

11.   Ixapa is owned by Anna Macias.

12.   Ms. Vazquez worked as a waitress for Ixapa since 2016.

13.   Prior to January 2022, Ms. Vazquez worked full-time for the

      Defendant.

14.   She made $2.25 per hour, and her shift was typically 10 a.m. to 9

      p.m., four days a week, for a total of 44 hours a week.

15.   Ms. Vazquez was qualified to work as a waitress at all times during

      her employment with Defendant.

16.   Prior to Defendant’s termination of Ms. Vazquez, she had never

      been subjected to adverse disciplinary action.

17.   In January 2022, Ms. Vazquez’s son was diagnosed with leukemia.

18.   Ms. Vazquez’s son requires regular medical treatment for his

      condition.

19.   Ms. Vazquez is her son’s primary caregiver.

20.   After her son was diagnosed with leukemia, in or about January

      2022, she brought the medical records to the manager, Roberto

      Perez, to let him know about the diagnosis.

21.   Ms. Vazquez requested that her employer change her work



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      schedule to accommodate her son’s medical appointments.

22.   Ms. Vazquez spoke with Anna Macias about her request to change

      shifts.

23.   Ms. Macias told her she could work three days a week while her son

      was in treatment.

24.   Ms. Vazquez would bring her son’s treatment schedule to the

      Defendant so that she could be off on the days he was scheduled to

      receive treatment.

25.   Defendant told her that it would schedule her around the

      appointments to accommodate her.

26.   To that end, Defendant temporarily allowed Ms. Vazquez to work

      three days a week.

27.   In August 2022, Ms. Vazquez’ son was hospitalized for four weeks.

      During the four weeks, she was unable to work.

28.   A week after he got out of the hospital, Ms. Vazquez told Defendant

      that her child required chemotherapy three days a week.

29.   In   response,   the   Defendant   told   her   to   re-schedule   the

      chemotherapy appointments if it interfered with her work schedule.

30.   Ms. Vazquez explained that she needed to be off on the days her son



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      was scheduled for chemotherapy.

31.   In or about September 2022, Defendant terminated Ms. Vazquez.

32.   The day after Ms. Vazquez was terminated, her friend went to the

      Defendant, inquiring about a job as a waitress, and was hired the

      same day.

33.   Because of Defendant’s discrimination, Plaintiff has suffered

      extreme harm including, but not limited to, loss of compensation

      and other terms, benefits, back pay, front pay, and conditions of

      employment.

34.   Additionally, the Plaintiff has suffered injury, including pain,

      humiliation, mental anguish, and loss of enjoyment of life.

                                COUNT ONE
                       (Violation of 42 U.S.C. § 12112
                        Association Discrimination)

35.   Plaintiff adopts and incorporates by reference paragraphs 10 – 34

36.   as if fully set forth herein.

37.   The Americans with Disabilities Act (“ADA”) prohibits covered

      entities from “discriminating against a qualified individual on the

      basis of disability in regard to job application procedures, the hiring,

      advancement, or discharge of employees, employee compensation,



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      job training, and other terms, conditions, and privileges of

      employment.” 42 U.S.C. § 12112(a).

38.   The term “discriminate against a qualified individual on the basis

      of disability” includes “excluding or otherwise denying equal jobs or

      benefits to a qualified individual because of the known disability of

      an individual with whom the qualified individual is known to have

      a relationship or association.” 42 U.S.C. § 12112(b).

39.   As alleged herein, Defendant and Plaintiff are a covered, non-

      exempt employer and employee under the ADA, respectively. See

      42 U.S.C. § 12111.

40.   Plaintiff’s son was diagnosed with leukemia in 2022.

41.   Leukemia is a disability under the ADA, 42 U.S.C. § 12102(1).

42.   Defendant was aware that the Plaintiff’s son had a disability.

43.   Plaintiff was qualified for her position at the time of her

      termination.

44.   Previously, throughout her three-year tenure as a waitress,

      Plaintiff’s performance had been exemplary, and she had not been

      subject to any discipline.

45.   At the time of her termination, Plaintiff had not violated any of


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      Defendant’s policies, and Defendant did not have legitimate cause

      for Plaintiff’s termination.

46.   Defendant terminated Plaintiff from her position in or about

      September 2022.

47.   At the time of her termination, Defendant was aware that Plaintiff

      was the mother of the individual with a disability and, thus, had a

      relationship and/or association with the individual with a disability.

48.   Defendant treated Plaintiff less favorably and terminated her

      employment     solely   because    of   Plaintiff’s   relationship   and

      association with an individual with a disability.

49.   Plaintiff has been injured by Defendant’s discrimination of Plaintiff

      due to her association with an individual with a disability, and

      Plaintiff is entitled to all damages allowed under the ADA,

      including an award of back pay, reinstatement and/or front pay,

      compensatory and punitive damages in the amount of $300,000,

      and attorney’s fees and costs of litigation, all in an amount to be

      proven at trial.

      WHEREFORE,         PREMISES         CONSIDERED,           the   Plaintiff

requests this Court enter judgment in favor of the Plaintiff and against


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the Defendant for the following relief:

     a.      Grant the Plaintiff a declaratory judgment holding that the

             actions of Defendant described herein above violated and

             continue to violate the rights of the Plaintiff as secured by 42

             U.S.C. § 12112;

     b.      Grant the Plaintiff a permanent injunction enjoining the

             Defendant, its agents, successors, employees, attorneys and

             those acting in concert with the Defendant and on this

             Defendant's behalf from continuing to violate 42 U.S.C. §

             12112;

     c.      Grant the Plaintiff an order requiring the Defendant to make

             the Plaintiff whole by awarding Plaintiff back pay (plus

             interest), compensatory, punitive, liquidated, and/or nominal

             damages, and reinstatement or front pay in lieu thereof;

     d.      The Plaintiff further prays for such other relief and benefits

             as   available    under   any   of the aforementioned anti-

             discrimination statutes or that the cause of justice may require,

             including, but not limited to, an award of costs, attorneys’ fees

             and expenses.


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            PLAINTIFF HEREBY DEMANDS A JURY

DATED: November 14, 2023

Respectfully submitted,

 /s/ Rodrick T. Cooks                   /s/ Jason L. Yearout
Rodrick T. Cooks                        Jason L. Yearout (ASB-4487-t80j)
Lee Winson                              Attorney for Plaintiff
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THE PLAINTIFF WILL SERVE THE DEFENDANT BY PROCESS
SERVER

     IB & G OF MONTGOMERY, INC
     d/b/a Ixtapa Bar & Grill
     7157 Eastchase Parkway
     Montgomery, Alabama 36117




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